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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DAKOTA HOLT,                 )
                             )
    Plaintiff,               )
                             )                CIVIL ACTION
v.                           )
                             )                FILE No. _____________________
DAKOTA ENTERPRISES, INC. and )
BROOKWOOD SQUARE LLC,        )
                             )
    Defendants.              )

                                   COMPLAINT

      COMES NOW, DAKOTA HOLT, by and through the undersigned counsel,

and files this, his Complaint against Defendants DAKOTA ENTERPRISES, INC.

and BROOKWOOD SQUARE LLC pursuant to the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines,

28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows the

Court as follows:

                                  JURISDICTION

      1.       This Court has original jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1343 as to Plaintiff’s claims pursuant to 42 U.S.C. § 12181, et

seq., based upon Defendants’ failure to remove physical barriers to access and

violations of Title III of the ADA.

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                                       PARTIES

       2.       Plaintiff DAKOTA HOLT (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Kennesaw,

Georgia (Cobb County).

       3.       Plaintiff is disabled as defined by the ADA.

       4.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

       5.       Plaintiff uses a wheelchair for mobility purposes.

       6.       Defendant Dakota Enterprises, Inc. (hereinafter “DEI”) is a Georgia

corporation that transacts business in the state of Georgia and within this judicial

district.

       7.       DEI operates a business located at 3999 Austell Road, Suite 1004,

Austell, Georgia 30106, doing business as “Subway #28731-0.”

       8.       DEI may be properly served with process via its registered agent for

service, to wit: Loretta P. Kaufman, 5067 Old Mountain Trail, Powder Springs,

Georgia 30127.

       9.       DEI is the lessee (or sub-lessee) of a portion of the real property and

improvements that are the subject of this action. (The structure in which DEI


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operates its business and that is situated upon said real property is referenced

herein as the “Subway Facility.” The contiguous structures and improvements that

comprise the shopping center that is also situated upon said parcel of real property

shall be referenced as the “Shopping Center Facility,” and together, the Subway

Facility and the Shopping Center Facility shall be referenced as the “Facilities.”)

       10.    Defendant Brookwood Square LLC (hereinafter “Brookwood”) is a

Delaware limited liability company that transacts business in the state of Georgia

and within this judicial district.

       11.    Brookwood is the owner or co-owner of the real property and

improvements that the Facility is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       12.    Brookwood may be properly served with process via its registered

agent for service, to wit: Corporation Service Company, 40 Technology Parkway

South #300, Norcross, Georgia 30092.

                            FACTUAL ALLEGATIONS

       13.    On or about September 27, 2018, Plaintiff was a customer at Subway

#28731-0.

       14.    Plaintiff lives in the near vicinity of the Facilities and Property.

       15.    Plaintiff’s access to the businesses located at 3999 Austell Road, Suite


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1004, Austell, Georgia 30106, Cobb County Property Appraiser’s parcel number

19092100040, and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendants are compelled to remove the

physical barriers to access and correct the ADA violations that exist at the

Facilities and Property, including those set forth in this Complaint.

      16.    Plaintiff travelled to the Facilities and Property as a customer,

encountered the barriers to access at the Facilities and Property that are detailed in

this Complaint, engaged those barriers, suffered legal harm and legal injury, and

will continue to suffer such harm and injury as a result of the illegal barriers to

access present at the Facilities and Property.

      17.    Plaintiff has visited the Facilities and Property at least once before and

intends on revisiting the Facilities and Property once the Facilities and Property are

made accessible.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      18.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      19.     The ADA provided places of public accommodation one and a half

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years from its enactment to implement its requirements.

      20.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      21.   The Facilities are each a public accommodation and service

establishment.

      22.   The Property is a public accommodation and service establishment.

      23.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      24.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      25.   The Facilities must be, but are not, in compliance with the ADA and

ADAAG.

      26.   The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the


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Facilities and the Property in his capacity as a customer of the Facilities and

Property, but could not fully do so because of his disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facilities and Property that preclude and/or limit his access to the Facilities and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facilities and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Facilities

and Property, but will be unable to fully do so because of his disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facilities and Property that preclude and/or limit his access to the Facilities and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      29.    Defendants have discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities


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and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      (a)    ACCESSIBLE ELEMENTS:

      (i)    Accessible parking spaces are not properly located and/or

             distributed on the Property, in violation of section 208.3 of the

             2010 ADAAG standards.

      (ii)   In the alternative to (i) above, the total number of accessible parking

             spaces on the portion of Property upon which the Subway Facility is

             situated is inadequate, in violation of section 208.2 of the 2010


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        ADAAG standards.

(iii)   The access aisle adjacent to the accessible parking space on the

        Property most proximate to the Subway Facility has a slope in

        excess of 1:48 (one to forty-eight), in violation of section 502.4

        of the 2010 ADAAG standards.

(iv)    The access aisle adjacent to the accessible parking space on the

        Property most proximate to the Subway Facility is also not

        level due to the presence of a ramp within the boundaries of

        said access aisle, in violation of section 502.4 of the 2010

        ADAAG standards.

(v)     The accessible parking space on the Property most proximate

        the Subway Facility is also not level due to the presence of a

        portion of the above-described ramp within the boundaries of

        said accessible parking space, in violation of section 502.4 of

        the 2010 ADAAG standards.

(vi)    There is an excessive vertical rise at the base of the above-

        described accessible ramp on the Property most proximate the

        Subway Facility, in violation of section 303.2 of the 2010

        ADAAG standards.


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(vii) The above-described ramp on the Property most proximate the

       Subway Facility also has side flares with a slope in excess of

       1:10 (one to ten), in violation of section 406.3 of the 2010

       ADAAG standards.

(viii) There are an excessive vertical rises at the base and landing of

       the above-described accessible ramp on the Property most

       proximate the Subway Facility, in violation of section 303.2 of

       the 2010 ADAAG standards.

(ix)   The accessible parking space on the Property most proximate

       the Subway Facility has signage that states that said space is

       van accessible, but it is not a van accessible space. Thus, the

       Property lacks a van accessible disabled parking space, in

       violation of section 208.2.4 of the 2010 ADAAG standards.

(x)    The accessible route on the Property between Suites 701 and

       601 of the Shopping Center Facility has a rise greater than 6

       (six) inches, but does not have handrails on both sides of such

       incline that comply with section 505 of the 2010 ADAAG

       standards, in violation of section 405.8 of the 2010 ADAAG

       standards. Specifically, there are only handrails on one side of


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        said route.

(xi)    The accessible route on the Property between Suites 601 and

        501 of the Shopping Center Facility has a rise greater than 6

        (six) inches, but does not have handrails on either side of said

        incline that comply with section 505 of the 2010 ADAAG

        standards, in violation of section 405.8 of the 2010 ADAAG

        standards.

(b)     RESTROOMS:

(i)     The door to the restrooms of the Subway Facility lacks

        permissible minimum maneuvering clearance, in violation of

        section 404.2.4 of the 2010 ADAAG standards.

(ii)    The Subway Facility lacks restrooms signage that complies

        with sections 216.8 and 703 of the 2010 ADAAG standards.

(iii)   The height of the coat hooks located in the accessible restrooms

        of the Subway Facility are above 48 (forty-eight inches) from

        the finished floor, in violation of section 308.2.1 of the 2010

        ADAAG standards.

(iv)    The accessible toilet stalls in the restrooms of the Subway

        Facility have grab bars adjacent to the commodes therein that


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             are not in compliance with section 604.5 of the 2010 ADAAG

             standards. Specifically, the rear bar is too short.

      (v)    The hand operated flush controls on the commodes in the

             restrooms of the Subway Facility are not located on the open

             side of the accessible stalls, in violation of section 604.6 of the

             2010 ADAAG standards.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical


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barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendants have the financial resources to make the necessary

modifications.

      38.    Upon information and good faith belief, the Facility and Property

have been altered since 2010.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendants.


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      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an order to modify the

Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Dakota Enterprises, Inc. in violation of the ADA

             and ADAAG;

      (b)    That the Court find Brookwood Square LLC in violation of the ADA

             and ADAAG;

      (c)    That the Court issue a permanent injunction enjoining Defendants

             from continuing their discriminatory practices;

      (d)    That the Court issue an Order requiring Defendants to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make it readily accessible to and useable by individuals

             with disabilities to the extent required by the ADA;

      (e)    That the Court award Plaintiff his reasonable attorneys' fees, litigation

             expenses and costs; and

      (f)    That the Court grant such further relief as just and equitable in light of


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             the circumstances.

                                    Dated: November 12, 2018.

                                    Respectfully submitted,

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich
                                    Georgia Bar No. 242240
                                    The Law Office of Craig J. Ehrlich, LLC
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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